Case 2:03-cv-02135-BBD-dkv Document 152 Filed 06/23/05 Page 1 of 14 Page|D 144

 

man 3
IN THE UNITED sTATEs DISTRICT coURT Y -~ D-C.
FoR THE wEsTERN DISTRICT oF TENNESSEE 95 JUN 23 _
wEsTERN DIvIsIoN H ‘+-' ‘+2
FlOPE"r>'r~ r~ m -.A
1515 SL :_J:§MEJT:O\»L;'P
MARK CHRISTOPHER onERT ' ‘ = l' "' ~v)~.-».»z»»a:s
and LESLEY 013ERT,
Plaintiffs,

v. Case No. 03-2135 D/V
'I`HE PYRAMID, CITY OF MEMPHIS,

SHELBY COUNTY GOVERNMENT,

PUBLIC BUILDING AUTHOR.ITY OF
MEMPHIS AND SHELBY COUNTY,

LEISURE MANAGEMENT

INTERNATIONAL D/B/A LMI/HHI, LTD.,
SPECTACOR MANAGEMENT GROUP

D/B/A SMG, CAVENDER BOERNE
ACQUTSITION OF TEXAS, LTD., MEMPHIS
POLICE DEPARTMENT, GEORGE STRAIT
PRODUCTIONS, INC., and GEORGE STRAIT’S
TEXAS CONNECTION, INC.,

Defendants.

\_/\_/\_/\_/\J\_/\_J\_/\_/H_/\_/\_/\/\_/\_/\_/`_/\_/VW\/\_/\_J

 

ORDER GRANTING IN PART AND DENYING IN PART DEFENDANTS SHELBY
COUNTY GOVERNMENT AND PUBLIC BUILDING AUTHORITY OF MEMPHIS
AND SHELBY COUNTY’S MOTION FOR SUMMARY JUDGMENT

 

Before the Court is the motion (dkt. # 126) ofDefendants Shelby County Govermnent and
Public Building Authority of Memphis (“PBA”) (coilectively “Defendants”) for summary judgment
of the complaint filed by Plaintiffs Ma.rk Christopher Obert and Leslie Obert (“Plaintiffs”). ln their
Second Amended Complaint, Plaintiffs assert that Defendants 1) discriminated against Ms. Obert
in violation of Title II of the Americans with Disabilities Act (“ADA”), 42 U.S.C. § 12132, §t_ Lq.,

2) were negligent/nein gent per se for the injuries sustained by Plaintiffs, 3) engaged in outrageous

Thls document entered on the docket sheatl com l|ance //
with Flula 58 and/or 79(a) FRCP on [rQ `é £f;‘ /`)

Case 2:03-cv-O2135-BBD-dkv Document 152 Filed 06/23/05 Page 2 of 14 Page|D 145

conduct, and 4) were in civil contempt of court. Plaintiffs sought injunctive and declaratory relief
against Defendants for their alleged noncompliance with the Consent Order of Disposition (“Consent

Order”) entered on August 19, 1991, in Paralyzed Veterans of America Mid South Qhapter, et al. v.

Hackett et al., No. 91-2462 (W.D. Tenn. 1991), and for Defendants’ alleged violation of the ADA.l

 

Plaintiffs further seek damages for Mr. Obert’s loss of consortium resulting from Ms. Obert’S
injuries. Defendants argue that they are entitled to summary judgment as to all claims. The Court
has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1367. For the following reasons, the Court grants
in part and denies in part Defendants’ motion for summary judgment
I. FACTUAL AND PROCEDURAL BACKGROUNI)

Plaintiffs Mark Christopher Obert and Lesley Obert, husband and wife, attended a George
Strait concert on March 8, 2002, at the Pyramid Arena (“Pyramid”) located in Memphis, Tennessee.
Second Am. Compl. 1| 19. Ms. Obert suffers from spina bifida and has been confined to a wheelchair
since birth. E. at 1[ 20. On the date of the concert, Plaintiffs arrived downtown at least one hour
before the beginning of the concert. E. at 11 19. Plaintiffs had attended other functions at the
Pyramid and were familiar with the facility’s available parking and seating options for handicapped
individuals ILL

ln accordance with the ingress and egress lane dedicated to handicap access, Plaintiffs assert
that they approached the Pyrarnid from Riverside Drive in an attempt to park in the handicapped
spaces located on the South side of the facility. E. at 11 22. The dedicated handicapped lane

allegedly was not being used for handicapped access. E. Plaintiffs assert that Memphis police

 

1All claims based on the consent order were dismissed in the Court’s July 16, 2003 Order
granting in part and denying in part these Defendants’ motion to dismiss (“July 16, 2003 Order”).

2

Case 2:03-cv-O2135-BBD-dkv Document 152 Filed 06/23/05 Page 3 of 14 Page|D 146

officers told Plaintiffs that the South side of the Pyramid had neither handicapped access nor
handicapped parking spaces, despite Plaintiffs’ protestations and request for handicapped access and
parking E. Plaintiffs maintain that Mr. Obert then attempted to leave Ms. Obert on the North side
of the Pyramid, however, he was denied access. M. at 11 23. Thereafter, Mr. Obert allegedly sought
to leave Ms. Obert at the designated handicap drop-off zone located in front of the Pyramid, but
again was denied entry by Memphis police officers who told him that there was no handicapped
access available in front of the Pyramid and the area was closed to all except those in limousines and
church buses. E.

After being denied access and parking at the Pyramid, Plaintiffs assert that they obtained
parking behind Café Francisco Restaurant, which is located several blocks southwest of the Pyramid.
E. at 11 25. After parking, Plaintiffs proceeded toward the Pyramid, I_d. at 1{ 26. To reach the
Pyramid, Plaintiffs allege that they had to cross North Main Street where it intersected with North
Parkway. M. A trolley track ran through the center of North Main Street. _Id. As Ms. Obert crossed
the street, the tire of her wheelchair lodged in the trolley tracks, causing her to flip over the front of
the wheelchair and land on the street. § at 1[ 27. The fall allegedly broke Ms. Obert’s leg
completely through in two separate places. E. at 11 28. Ms. Obert maintains that she had a long and
painful recuperation. Ll.

On March 7, 2003, Plaintiffs initiated the instant action against Defendants. On the same
day, Plaintiffs filed an action in state court against entities associated with the Memphis Area Transit
Authority (“MATA”) for the injuries Plaintiffs suffered as a result of Ms. Obert’s wheelchair
becoming lodged in the trolley tracks. In the July 16, 2003 Order, this Court held that Plaintiffs

could not proceed with their claims based on Defendants’ alleged noncompliance with the Consent

Case 2:03-cv-O2135-BBD-dkv Document 152 Filed 06/23/05 Page 4 of 14 Page|D 147

Order. Thus, Plaintiffs’ claims for injunctive and declaratory relief and any other claims premised
solely on Defendants’ alleged noncompliance with the Consent Order were dismissed Defendants
filed a motion for summary judgment on January 25, 2005, as to all remaining claims against them.
II. LEGAL STANDARD

Summary judgment is proper “if the pleadings, depositions, answers to interrogatories, and
admissions on file, together with the affidavits, if any, show that there is no genuine issue as to any
material fact and that the moving party is entitled to a judgment as a matter of law.” Fed. R. Civ.
P. 56(0). In other words, summary judgment is appropriately granted “against a party who fails to
make a showing sufficient to establish the existence of an element essential to that party’s case, and
on which that party will bear the burden of proof at trial.” Celotex Corp. v. Catrett, 477 U.S. 317,
322 (1986).

The party moving for summary j udgment may satisfy its initial burden of proving the absence
of a genuine issue of` material fact by showing that there is a lack of evidence to support the
nonmoving party’s case. M. at 325. This may be accomplished by submitting affirmative evidence
negating an essential element of the nonmoving party’s claim, or by attacking the opponent’s
evidence to show why it does not support a judgment for the nonmoving party. 10a Charles A.
Wright et al., Federal Practice and Procedure § 2727, at 35 (2d ed. 1998).

Facts must be presented to the court for evaluation Kalamazoo River Study Group v.
Rockwell lnt’l Corp., 171 F.3d 1065, 1068 (6th Cir. 1999). The court may consider any material that
would be admissible or usable at trial. 10a Charles A. Wn`ght et al., Federal Practice and Procedure

§ 2721, at 40 (2d ed. 1998). Although hearsay evidence may not be considered on a motion for

summary judgment, Jacklyg v. Schering-Plough Healthcare Prods. Sales Co;p., 176 F.3d 921, 927

Case 2:03-cv-O2135-BBD-dkv Document 152 Filed 06/23/05 Page 5 of 14 Page|D 148

(6th Cir. 1999), evidentiary materials presented to avoid summary judgment otherwise need not be

in a form that would be admissible at trial. Celotex, 477 U.S. at 324; Thaddeus-X v. Blatter, 175

 

F.3d 378, 400 (6th Cir. 1999),

In evaluating a motion for summary judgment, all the evidence and facts must be viewed in
a light most favorable to the nonmoving party. Matsushita Elec. Indus. Co. v. Zenith Radio Cor_r_).,
475 U.S. 574, 587 (1986); Wade v. Knoxville Utilities Bd., 259 F.3d 452, 460 (6th Cir. 2001).
Justifiable inferences based on facts are also to be drawn in favor of the non-movant Kalamazoo
m, 171 F.3d at 1068.

Once a properly supported motion for summary judgment has been made, the “adverse party
may not rest upon the mere allegations or denials of [its] pleading, but . . . must set forth specific
facts showing that there is a genuine issue for trial.” Fed. R. Civ. P. 56(e). A genuine issue for trial
exists if the evidence would permit a reasonable jury to return a verdict for the nonmoving party.
Anderson v. Liberty Lobby1 lnc., 477 U.S. 242, 248 (1986). To avoid summary judgment, the
nonmoving party “must do more than simply show that there is some metaphysical doubt as to the
material facts.” Matsushita, 475 U.S. at 586.

III. ANALYSIS

A. ADA Claim

Plaintiffs contend that Defendants violated Title II of the ADA when Plaintiffs were denied
access to the Pyramid handicapped drop-off zone or parking Section 12132, Title 42 of the United
States Code provides: “Subj ect to the provisions of this title, no qualified individual with a disability
shall, by reason of such disability, be excluded from participation in or be denied the benefits of the

services, programs, or activities of a public entity, or be subjected to discrimination by any such

Case 2:03-cv-O2135-BBD-dkv Document 152 Filed 06/23/05 Page 6 of 14 Page|D 149

entity.” 42 U.S.C. § 12132, Thus, in order to establish a violation ofTitle II of the ADA, a plaintiff
must show that l) she qualifies as a disabled individual; 2) she was excluded from participation in
or was denied the benefits of some service, program, or activity by reason of her disability; and 3)
the entity providing the service, program, or activity is a public entity. Dillery v. City of Sandusky,
398 F.3d 562, 567 (2005).

Defendants do not dispute that Ms. Obert is disabled pursuant to the ADA. Nor do
Defendants contend that they are not public entities as required under the ADA. The dispute
concerns whether Defendants denied Ms. Obert the benefit of “some service, program, or activity
by reason of her disability.” 42 U.S.C. § 12132, First, Defendants assert that Plaintiffs were not
denied access to the Pyramid because they utilized the Wheelchair ramp, the elevator, and the
wheelchair accessible seating area. Plaintiffs argue that although they obtained access to the
Pyramid, such access was merely physical and not “meaningful” as required by the ADA, because
they were denied access to the designated handicapped parking spaces and were not allowed to enter
the required handicapped drop-off zones.

In Chaffin v. Kansas State Fair Bd., 348 F.3d 850 (10th Cir. 2003), the defendant argued that
because handicapped plaintiffs had access to the fair and the programs and services at the fair, the
plaintiffs could not be deemed to have been “denied the benefits of” the fair under the ADA. I_d4 at
857. The court did not find this argument persuasive, holding that the mere physical presence of
handicapped individuals at the fair was insufficient to avoid ADA liability. ch The court reasoned
that the plaintiffs’ inability to use the restroom facilities, view the stage, or utilize the free parking
lot was sufficient to establish a denial of the benefits of a public accommodation Ll_.

In the instant case, when Plaintiffs were denied access to the handicapped parking and drop-

Case 2:03-cv-O2135-BBD-dkv Document 152 Filed 06/23/05 Page 7 of 14 Page|D 150

off zone, they were forced to use parking that was not handicap accessible, resulting in severe injury
to Ms. Obert. This demonstrates that a genuine issue of material fact exists as to whether Ms. Obert
had meaningful access to the Pyramid, Such lack of access is sufficient to establish a denial of
benefits, as required under the ADA.

Defendants next argue that Plaintiffs have not established that Defendants intentionally
discriminated against Plaintiffs. Defendants assert that Plaintiffs have not proven that they were
denied access to the drop-off zone because of Ms. Obelt’s disability. Although courts have held that
proof that a defendant intentionally discriminated against the plainti ff must be established to recover
damages, §_e§ Bartlett v. New York State Bd. of Law Exam’rs, 156 F.3d 321, 331 (2d Cir. 1998);
Powers v. MJB Acguisition Corp., 184 F.3d l 147 (10th Cir. 1999); Center v. Cig; ofW. Carrollton,
227 F. Supp. 2d 863, 871 (S.D. Ohio 2002), “intentional discrimination can be inferred from a
defendant’s deliberate indifference to the strong likelihood that pursuit of its questioned policies will

likely result in a violation of federally protected rights.” Powers, 184 F.3d at 1 153. Consequently,

 

in order for the Plaintiffs to establish that the Defendants violated the ADA, they must show that
Defendants used deliberate indifference in denying Plaintiffs access to the Pyramid’s handicapped
drop-off zone and parking “Deliberate indifference requires both knowledge that a harm to a
federally protected right is substantially likely, and a failure to act upon that likelihood.” Duvall v.
County of Kitsap, 260 F.3d 1124, 1139 (9th Cir. 2001) (citing Cig[ of Canton v. Harris, 489 U.S.
378, 389 (1988)). lf the need for an accommodation is obvious or required by statute or regulation,
the public entity is on notice that an accommodation is required, thus satisfying the knowledge
element of the deliberate indifference test. M.

Plaintiffs have alleged that Defendants’ “failure to provide the Oberts proper access to the

Case 2:03-cv-O2135-BBD-dkv Document 152 Filed 06/23/05 Page 8 of 14 Page|D 151

Pyramid denied the plaintiffs . . . full and equal enjoyment of a public accommodation in direct
violation of the ADA.” Pls’ Resp. to Def.’s Mot. for Sum. J., p. 8. Plaintiffs contend that
Defendants’ failure to allow Plaintiffs access to the drop-off zone when they had full knowledge of
the requirements of the ADA and the consent order that governed the policies, establishes that
Defendants were deliberately indifferent to Plaintiffs’ rights.

The ADA provided Defendants with the requisite knowledge for deliberate indifference
Defendants then failed to act upon that knowledge when they failed to ensure Plaintiffs access to the
drop-off zone. Defendants argue, however, that by allowing handicapped individuals to enter the
full parking lot or the drop-off zone when others are denied access would be affording disabled
patrons a greater opportunity than others, which is not required by the ADA. Defendants cite wes_s
Now. lnc. v. South Florida Stadiurn Corn.. 161 F.Supp.Zd 1357 (S.D. Fla. 2001) to support their
contention ln Access Now, the plaintiff attempted to purchase tickets to a sold-out football game.
_Ig at 1367. The court held that disabled individuals were not entitled to a greater opportunity to
purchase tickets than able-bodied fans. Ld. ln the instant case, if the parking lots were completely
filled, including the handicapped spaces, Defendants would not be required to provide disabled
individuals nonexistent spaces, assuming that the number of handicapped parking spaces was
adequate to begin with. However, the drop-off zone should never be hill, as cars cannot park there.
There is no comparable requirement for non-disabled individuals Thus, even if Defendants could
argue that Access Now does not require them to allow Plaintiffs access to the parking lots when all
spaces are full, Access Now does not support Defendants’ contention that they were not required to
allow Plaintiffs access to the drop-off zone.

Defendants assert that they cannot be liable under Title II of the ADA because they have no

Case 2:03-cv-O2135-BBD-dkv Document 152 Filed 06/23/05 Page 9 of 14 Page|D 152

control or ownership of the streets surrounding the Pyramid. However, their ownership and control
over the Pyramid and its policies and procedures for ensuring access, open the Defendants to liability
under the ADA. Plaintiffs have alleged that Defendants breached their duties under the ADA by
neglecting to properly supervise parking and drop-off zones. Furthennore, Plaintiffs contend that
Defendants failed to properly train and monitor those persons delegated with the responsibility of
providing disabled parking and drop-off zone availability.

Subsection (a) of § 12182 provides that the ADA’s prohibitions against discrimination apply
to “any person who owns, leases (or leases to), or operates a place of public accommodation.” 42
U.S.C. § 12182(a). The express terms of the ADA, therefore, hold a landlord liable for
noncompliance Botosan v. Paul McNally Realty, 216 F.3d 827, 832 (9th Cir. 2000). Thus,
Defendants Shelby County and PBA could potentially be liable as the owner/landlord of the
Pyramid,

Finally, Defendants argue that the denial of access that precipitated this lawsuit was an
isolated incident. Because there are policies and procedures in place to guarantee accessibility,
Defendants contend that no injunctive relief is required. The Court finds that there exists a genuine
issue of material fact as to Defendants’ role in training and monitoring the Memphis police officers
concerning the required ingress and egress lanes. The Court also finds that there is a genuine issue
of material fact as to whether Plaintiffs’ denial of access was an isolated event Finally, the Court
finds that there exists a genuine issue of material fact as to whether the existing consent order is
adequate for handicapped parking purposes The Court determines that these are questions of fact
best determined by the jury.

Defendants have failed to demonstrate that Plaintiffs had equal and meaningful access to the

Case 2:03-cv-O2135-BBD-dkv Document 152 Filed 06/23/05 Page 10 of 14 Page|D 153

handicapped drop-off zone and parking. Accordingly, the Court denies Defendants’ motion for
summary judgment as to Plaintiffs’ ADA claim. However, as Defendants note, Plaintiffs may not
recover punitive damages against Defendants pursuant to the ADA. Johnson v. Cigg of Salin , 151
F.3d 564, 573 (6th Cir. 1998).

B. State Law Claims

Defendants move for summary j ud gment of all of Plaintiffs’ claims, which include Plaintiffs’
negligence claim. They further argue that it is undisputed that MATA owns, controls, and maintains
the trolley tracks. However, Plaintiffs contend that the question of ownership and control of the
trolley tracks is not yet resolved. Thus, a question of material fact remains unanswered and the Court
denies Defendants’ motion for summary judgment as to Plaintiffs’ negligence claim.2

Defendants assert that the acts complained of by Plaintiffs do not rise to the stringent
requirements of the state law claim of outrageous conduct. To establish a claim for outrageous
conduct, a plaintiff must establish that the conduct complained of l) was intentional or reckless; 2)
was so outrageous that it is not tolerated by civilized society; and 3) resulted in serious mental injury.
Bain v. Wells, 936 S.W.2d 618, 622 (Tenn. 1997) (citations omitted). Liability for mental distress
damages “does not extend to mere insults, indignities, threats, annoyances, petty oppression or other

trivialities.” §§ (quoting Medlin v. Allied lnv. Co., 398 S.W.2d 270, 274 (Tenn. 1966)). To

 

determine whether conduct is so intolerable as to be outrageous, Tennessee courts apply the

following standard enunciated in the Restatement (Second) of Torts § 46, comment d :

 

2Defendants ask the Court to reserve ruling on the negligence claim until the question of
ownership has been resolved in the pending state court action. Therefore, denial of summary
judgment essentially grants Defendants’ motion to reserve judgment on the issue of negligence,
as that issue is now reserved for trial.

10

Case 2:03-cv-O2135-BBD-dkv Document 152 Filed 06/23/05 Page 11 of 14 Page|D 154

The cases thus far decided have found liability only where the
defendant’s conduct has been extreme and outrageous lt has not been
enough that the defendant has acted with an intent which is tortious
or even criminal, or that he has intended to inflict emotional distress,
or even that his conduct has been characterized by “malice,” or a
degree of aggravation which would entitle the plaintiff to punitive
damages for another tort. Liability has been found only where the
conduct has been so outrageous in character, and so extreme in
degree, as to go beyond all bounds of decency, and to be regarded as
atrocious and utterly intolerable in a civilized community. Generally,
the case is one in which the recitation of the facts to an average
member of the community would arouse his resentment against the
actor, and lead him to exclaim, “Outrageous.”

l_rL at 623.

Plaintiffs have alleged that Defendants’ conduct, including but not limited to its operation
of the Pyramid without a parking plan and handicapped access and/or its denial of handicapped
access, was intentional and reckless. Defendants assert that they have a contractual arrangement
with SMG. Moreover, Defendants contend that they have a parking plan in place which follows both
the Consent Order and the guidelines of the Department of Justice. Although a genuine issue of
material fact remains as to violations of the ADA by Defendants, the Court finds that Plaintiffs have
not met the burden of demonstrating that Defendants’ acts or inaction rises to the level of outrageous
conduct In their response to Defendants’ motion, Plaintiffs simply argue that discrimination can
provide the basis for a claim of outrageous conduct and that outrageous conduct allegations are
always questions of fact to be led for the jury. However, discrimination is not always outrageous

conduct, E, gg, Bolander v. BP Oil Co., 128 Fed.Appx. 412, 419 (6th Cir. 2005). ln this case,

 

there is no evidence of outrageous conduct on the part of Defendants. Furthermore, there are no
questions of fact that must be resolved in order to make a determination concerning Plaintiffs’ claim

of outrageous conduct Accordingly, the Court grants Defendants’ motion for summary judgment

ll

Case 2:03-cv-O2135-BBD-dkv Document 152 Filed 06/23/05 Page 12 of 14 Page|D 155

as to Plaintiffs’ outrageous conduct claim.

Finally, Defendants assert that PlaintiffMark Obert’s claim of loss of consortium is premised
upon the claims of his wife. Defendants argue that because Ms. Obert has no viable cause of action
against Defendants, Mr. Obert has no cause of action for loss of consortium Because the Court finds
that Ms. Obert does have a viable cause of action against Defendants for violation of the ADA and
for negligence, Defendants’ motion for summary judgment as to loss of consortium is denied.

C. Punitive Damages

Defendants maintain that as a matter of law, punitive damages are not permissible against
a governmental entity or its employees Plaintiffs agree and state that they do not seek punitive
damages against these Defendants Thus, Defendants’ motion for summary judgment as to
Plaintiffs’ claim for punitive damages is granted
IV. CONCLUSION

For the foregoing reasons, the Court GRANTS Defendants’ summary judgment motion as
to Plaintiffs’ state law claim of outrageous conduct and as to Plaintiffs’ claim for punitive damages
The Court DENIES Defendants’ motion for summary judgment with respect to Plaintiffs’ claims

of violations of the ADA and Plaintiffs’ state law claims of negligence and loss of consortium.

rr rs so 0RDERED this 123 day ofrune, 2005.

    

ERNICE BO E DONALD
NITED STATE DISTRICT JUDGE

12

DISTRIC COURT - WESTNER DISRICT oF TNNESEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 152 in
case 2:03-CV-02135 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

 

Laurice E. Smith

LAW OFFICE OF LAURICE E. SMITH
2693 Union Ave.

Ste. 200

Memphis7 TN 38112

Eugene J. Podesta

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

Memphis7 TN 38103

Michael B. Neal

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/lemphis7 TN 3 8103--246

J. Phillip Kerley

BREAKSTONE & ASSOCIATES
200 Jefferson Ave.

Ste. #725

Memphis7 TN 38103

Elbert Jefferson

CITY ATTORNEY'S OFFICE
125 N. Main Street

Ste. 314

Memphis7 TN 38103

Tini Wade Hellen

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC
One Conimerce Square

Ste. 2000

Memphis7 TN 38103

Case 2:03-cv-O2135-BBD-dkv Document 152 Filed 06/23/05 Page 14 of 14 Page|D 157

Alan Harkavy

HARKAVY SHAINBERG KAPLAN & DUNSTAN, PLC
6060 Poplar Ave.

Ste. 140

Memphis7 TN 38119

Sara Margaret Falkinham
ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/lemphis7 TN 3 8103--246

Edward Hugh Burrell

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/lemphis7 TN 38103--246

Leo Maurice Bearman

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

